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                Exhibit C
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                                             Atlanta             Chicago       Melville         Philadelphia     San Francisco
                                             Boca Raton          Manhattan     Nashville        San Diego        Washington, DC




                                                      December 6, 2013

                                                                                                                      VIA ECF

   The Honorable Judge John Gleeson                                  Magistrate Judge James Orenstein
   United States District Court                                      United States District Court
     for the Eastern District of New York                              for the Eastern District of New York
   225 Cadman Plaza East                                             225 Cadman Plaza East
   Brooklyn, NY 11201                                                Room 1227 South
                                                                     Brooklyn, NY 11201

              Re:        In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                         No. 1:05-MD-1720-(JG)(JO)

   Dear Judge Gleeson and Magistrate Judge Orenstein:

           In accordance with this Court’s November 25, 2013 Order, Class Counsel respectfully
   submit this letter to inform the Court that, in their view, discovery regarding third-party claims
   filing company Settlement Recovery Group, LLC (“SRG”) and its relationship with its partner,
   Premier Enterprises Group (“Premier”), is necessary and appropriate. Despite this Court’s Order
   requiring SRG to provide Class Counsel with all contacts between it and Premier, SRG has not
   provided information sufficient to determine what entity was responsible for the communications
   that were the subject of Class Counsel’s November 14, 2013 letter (Dkt. No. 6088), what persons
   made the misleading communications and what the appropriate relief for such conduct should be.
   Accordingly, Class Counsel believe discovery is appropriate and have served discovery requests on
   SRG and Premier. The discovery sent to Premier and SRG is attached hereto as Exhibit 1.

           As the Court stated in its December 3, 2013 Order, a full record will enable the Court to
   determine the appropriate relief as to the party or parties responsible for the communications, and
   will enable the Court to better understand the nature of these types of referral agreements in order to
   determine if other, broader prophylactic relief is necessary to protect Class members.1




   1
             Class Counsel is preparing a motion seeking broader relief as to other third parties claims processors and
   expects to file that motion in the coming days. This is in response to the Court’s statement that it is “still considering a
   further injunction that’s broader in scope so there can be a deterrent, a message that may convey some deterrence to the
   other would-be claims processors out there.” Nov. 25, 2013 Hrg. Tr. at 16:6-9.


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          This limited discovery is necessary because SRG has not yet provided complete information
   to Class Counsel as ordered by the Court. In its November 25, 2013 Order, the Court instructed
   SRG to provide its contract with Premier. This document was provided on November 26, 2013 and
   was submitted under seal to the Court on the same day. Dkt. No. 6109. SRG was also ordered to
   describe all contacts with Premier before Wednesday, November 27, 2013. See Nov. 25, 2013
   Order. On Friday, November 29, 2013 (two days after the date the Court ordered), SRG provided
   Class Counsel a letter containing minimal information. See Ex. 2.

           The information provided is insufficient to determine the agency relationship between the
   parties and underscores why discovery is needed.2 In order to determine whether there is an agency
   relationship between SRG and Premier, Class Counsel has requested discovery from SRG about its
   relationship with Premier, its relationship with other third parties with whom it has referral
   contracts and its direct communications with putative class members. Similar discovery was
   directed at Premier.

           On Monday, December 2, 2013, Class Counsel wrote to SRG informing it that the
   information provided in the letter was insufficient to determine the nature of the Premier/SRG
   relationship. Class Counsel asked SRG to provide answers to detailed questions regarding the
   SRG/Premier relationship and sought specific information regarding all contacts between the two
   entities as the Court had ordered. In a meet and confer on December 5, 2013, counsel for SRG
   indicated that it intends to comply with all discovery requests and that the information sought by the
   Court and Class Counsel will be provided.

         The parties have agreed to some minor changes to the letter ordered to be sent to Class
   members that signed up with SRG through the SRG/Premier agreement. See Ex. 3. Counsel for
   SRG asked that Class Counsel provide this letter to the Court for its approval. SRG has stated that


              I’m interested in relief that goes far beyond what’s being asked here. I don’t know why I should
              allow SRG to participate in any way, shape, or form in any claims processing having anything to do
              with any future settlement in this case. And then maybe if there are other people, like-minded people,
              out there who see that relief was granted, I’m not going to have to deal with them.

   Id. at 7:25-8:6.
   2
            The elements of an agency relationship are: (1) “a manifestation by the principal that the agent shall act for
   him;” (2) “accept[ance] [of the] undertaking” by the agent; and (3) “an understanding between the parties that the
   principal is to be in control of the undertaking.” In re Rubin Bros. Footwear, Inc., 119 Bankr. 416, 422 (S.D.N.Y.
   1990). Of these, the critical element is control of the agent by the principal. In re Shulman Transp. Enters., Inc., 744
   F.2d 293, 295 (2d Cir. 1984).


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   Magistrate Judge James Orenstein
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   it intends to comply with the Court’s December 3, 2013 Order and will send the letter out within the
   time set by the Court.

                                           Respectfully submitted,

    /s/ K. Craig Wildfang               /s/ H. Laddie Montague, Jr.   /s/ Bonny E. Sweeney
    K. Craig Wildfang                   H. Laddie Montague, Jr.       Patrick J. Coughlin
    Thomas J. Undlin                    Merrill G. Davidoff           Bonny E. Sweeney
    Robins, Kaplan, Miller              Berger & Montague, P.C.       Robbins Geller Rudman
      & Ciresi L.L.P.                                                   & Dowd LLP

   Attachments

   cc:        All Counsel (via ECF)
              Daniel L. Brown (via Electronic Mail)




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    November 27, 2013

    Via Email

    Alexandra S. Bernay, Esq.
    Robbins Geller Rudman & Dowd LLP
    655 West Broadway, Suite 1900
    San Diego, CA 92101

           Re:     In re Payment Card Interchange Fee and Merchant Discount Antitrust Lit.,
                   No. 1:05-MD-1720-(JG)(JO)

    Dear Ms. Bernay:

           As ordered by the Court on November 25, 2013, I write to provide you with a description
    of contacts between Settlement Recovery Group (“SRG”) and Premier Enterprises Group
    (“Premier”) relating in any way to this case. Please note that although this information reflects
    SRG’s best understanding of such contacts, it has been gathered in the short time since the
    Court’s order and thus may be incomplete.

            The contacts between SRG and Premier began in June 2013. Premier was referred to
    SRG as an Independent Sales Organization with merchant clients and contacts who might be
    interested in the use of SRG’s services. Mr. Rosenberg of SRG had email communications and
    calls with Lane Courkamp of Premier to negotiate the terms of the referral agreement between
    Premier and SRG and to set up the mechanics by which Premier would deliver to SRG executed
    claims filing agreements acquired by Premier through its solicitation efforts. During this
    process, SRG provided Mr. Courkamp with answers to typical questions from merchants. Mr.
    Rosenberg also communicated with Mr. Courkamp and his staff to confirm the receipt of
    executed agreements and verify merchant information.

            In addition, Mr. Rosenberg had contact with Mr. Courkamp to renegotiate the terms of
    the referral agreement to provide Premier with additional value. SRG and Premier also
    communicated in relation to the matters currently before the Court and the termination of the
    SRG-Premier agreement.
                                                 Sincerely,

                                                 /s/ Neil S. Binder

                                                 Neil S. Binder
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                                                 DATE

    NAME
    ADDRESS
    CITY, STATE ZIP

           Re:     In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                   No. 1:05-MD-1720-(JG)(JO) (E.D.N.Y.)

    Dear NAME:

           On DATE, you filled out a Claims Recovery Agreement Authorization Form, authorizing
    Settlement Recovery Group, LLC (“SRG”) to file a claim on your behalf in the case entitled In
    re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, No. 1:05-MD-
    1720-(JG)(JO) (E.D.N.Y.), a case about certain fees paid by merchants who accept Visa and
    MasterCard, with SRG receiving 35% of the face value of any claim you would receive should a
    settlement be approved.
           The Court overseeing the proposed settlement in the case has determined that the
    communications were misleading and did not appropriately apprise class members of their
    options with respect to the settlement. Specifically, the Court found that communications may
    have confused or misled merchants into believing they were required to sign up with our
    company in order to collect cash benefits from the proposed settlement. This is not the case.
           Because of this, the Court has ordered all contracts with SRG to be voided and your
    contract with SRG is terminated and no longer in force. Accordingly, SRG will not file your
    claim on your behalf.
            The Court has not yet approved a settlement. If the Court does approve a settlement, you
    will receive a claim form from the Class Administrator. In order to participate in the settlement,
    you must submit a claim form. The Court-Appointed Class Administrator and Class Counsel can
    assist class members with claims filing at no cost and you are not required to use SRG, or any
    third party, to file your claim. Information is available at www.paymentcardsettlement.com.
            If you choose to reinstate your contract with SRG, please either send an email to EMAIL
    or call PHONE or write to XXX. Please include your business legal name and contact
    information.


                                                 Very truly yours,




                                                 NAME
